    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 1 of 9 PageID #:571




                      UNTIED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                      )
 TOPSTEPTRADER, LLC,                                  )
                                                      ) Case Number 17-cv-4412
                        Plaintiff,                    )
                                                      ) Judge: Hon. Harry D. Leinenweber
        v.                                            )
                                                      )
 ONEUP TRADER, LLC,                                   )
                                                      )
                        Defendant.                    )
                                                      )

         DEFENDANT’S ANSWER TO COMPLAINT AND COUNTERCLAIMS

       Defendant, OneUp Trader, LLC (“OneUp”), through its attorneys, hereby answers the

corresponding paragraphs of Plaintiff’s Complaint as follows:

                                            PARTIES

       Defendant denies the allegations set forth in the first, unnumbered paragraph.

       1.       OneUp lacks information or knowledge sufficient to form a belief as to the truth

of the allegations of this paragraph and they are accordingly denied.

       2.      It is admitted that OneUp Trader, LLC, is a Delaware limited liability corporation.

It is denied that the principal place of business is at 501 Silverside Road, Suite 403, Wilmington,

Delaware 19809.

                                 JURISDICTION AND VENUE

       3.      It is denied that the amount in controversy exceeds $75,000. It is admitted that

this Court has subject matter jurisdiction over plaintiff’s claim under the Copyright Act. As to

whether the parties are completely diverse, OneUp lacks information or knowledge sufficient to

form a belief as to the truth of that allegation and it is accordingly denied. The remaining

allegations of this paragraph are denied.
    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 2 of 9 PageID #:571




       4.      Denied.

       5.      Denied.

       6.      Denied.

       7.      Denied.

                                “FACTUAL BACKGROUND”

       8.      Denied.

       9.      Denied.

       10.     OneUp lacks information or knowledge sufficient to form a belief as to the truth

of the allegations of this paragraph and they are accordingly denied.

       11.     Denied.

       12.     Denied.

       13.     OneUp lacks information or knowledge sufficient to form a belief as to the truth

of the allegations of this paragraph and they are accordingly denied.

       14.     Denied.

       15.     OneUp lacks information or knowledge sufficient to form a belief as to the truth

of the allegations of this paragraph and they are accordingly denied.

       16.     Denied.

       17.     Denied.

       18.     It is admitted that plaintiff’s website is available to the general public. The

remaining allegations of this paragraph are denied.

       19.     Denied.

       20.     Denied.

       21.     Denied.

       22.     Denied.


                                                 2
    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 3 of 9 PageID #:571




       23.     Denied.

       24.     Denied.

       25.     Denied.

       26.     Denied.

       27.     Denied.

                          “DEFENDANT ONEUP’S MISCONDUCT”

       28.      Denied.

       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     It is admitted only that OneUp made changes to its website after receiving a

cease and desist letter from plaintiff. The remaining allegations of this paragraph are denied.

       36.     Denied.

       37.     It is admitted only that OneUp made additional changes to its website after

receiving a second letter from plaintiff. The remaining allegations of this paragraph are denied.

       38.     It is admitted that plaintiff sent a letter on or around May 31, 2017. The

remaining allegations of this paragraph are denied.

       39.     Denied.

       40.     Denied.

       41.     It is admitted that plaintiff’s counsel sent the letters attached at Exhibit G. The

remaining allegations of this paragraph are denied.


                                                 3
     Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 4 of 9 PageID #:571




        42.      Denied.

                                      COUNT I
                              “COPYRIGHT INFRINGEMENT”


        43.      OneUp incorporates by reference its answers to the preceding paragraphs as if

set forth fully herein.

        44.      OneUp lacks information or knowledge sufficient to form a belief as to the truth

of the allegations of this paragraph and they are accordingly denied.

        45.     Denied.

        46.     Denied.

        47.     Denied.

        48.     Denied.

        49.     Denied.

                                       COUNT II
                                 “BREACH OF CONTRACT”

        50.       OneUp incorporates by reference its answers to the allegations contained in the

preceding paragraphs as if set forth fully herein.

        51.      Denied.

        52.      Denied.

        53.      Denied.

        54.      Denied.

        55.      Denied.

        56.      Denied.

        57.      Denied.

        58.      Denied.



                                                     4
       Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 5 of 9 PageID #:571




         59.     Denied.

         60.     Denied.

         61.     Denied.

         62.     Denied.

         63.     Denied.

         64.     Denied.

         65.     Denied.

         66.     Denied.

         WHEREFORE, OneUp respectfully requests that this Court:

         1. Enter judgment in its favor and against plaintiff on each of its claims;

         2. Award OneUp its attorneys fees and costs pursuant to the Copyright Act, 17 US.C. §

505;

         3. Deny plaintiff’s request for injunctive relief; and

         4. Grant OneUp such other relief as may be just and warranted under the circumstances.

                                   AFFIRMATIVE DEFENSES

         OneUp asserts the following defenses without prejudice to denials set forth above in this

answer; without admitting any allegations of the Complaint not otherwise admitted above, and

without assuming any burden of production, proof, or persuasion that OneUp would not

otherwise have under applicable law. Because OneUp’s factual investigation is ongoing and

discovery has not yet commenced, OneUp expressly reserves the right to allege additional

defenses after appropriate discovery.




                                                   5
     Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 6 of 9 PageID #:571




                                    First Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, for failure to state a claim upon which

relief can be granted.

                                   Second Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver, estoppel,

and/or acquiescence.

                                    Third Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches. by the doctrine

of laches.

                                   Fourth Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, because plaintiff has not suffered any

cognizable, nonspeculative injury or damages.

                                    Fifth Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, by the doctrine of copyright misuse.

Among other things, plaintiff has misused the litigation process in an attempt stifle competition

under the guise of “copyright.” Plaintiff has also claimed copyright in subject matter that it did

not author, and that it knew it did not author or own.

                                    Sixth Affirmative Defense

        Plaintiff’s copyright claim is barred because of its fraud on the copyright office. At least

portions of plaintiff’s website content were not authored by plaintiff and it does not own at least

portions of its website content. Plaintiff intentionally failed to inform the copyright office of

these facts.




                                                  6
    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 7 of 9 PageID #:571




                COUNTERCLAIM OF NO COPYRIGHT INFRINGEMENT

       For its Counterclaim against Topstep Trader, LLC (“Topstep”), OneUp Trader, LLC

(“OneUp”) alleges as follows:

                                          THE PARTIES

       1.      OneUp is a Delaware limited liability company with its principal place of

business at Building 7, 11th Floor, Ahmad Jaber St., Sharq, Kuwait 13019.

       2.      On information and belief, Topstep is an Illinois limited liability company with its

principal place of business in Chicago, Illinois.

                                    JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this counterclaim pursuant to 28

U.S.C. section 1338(a) because plaintiff has asserted a copyright claim and this counterclaim

pertains to that copyright claim.

       4.      This Court has personal jurisdiction over Counterclaim-Defendant Topstep

because it has availed itself of this Court by bringing its claims against OneUp in this Court, and

because Topstep’s principal place of business is in this District.

       5.      Venue exists in this District under 28 U.S.C. sections 1391 and 1400(a) because

Topstep resides in this District and has consented that venue is proper in this District by bringing

its copyright claim against OneUp in this Court.

                  COUNTERCLAIM FOR DECLARATORY JUDGMENT

       6.      On June 12, 2017, Topstep filed this lawsuit against OneUp, asserting, among

other things, infringement of Topstep’s purported copyrights in certain website content.

       7.      Topstep claims to own copyright interests in certain website content.

       8.      Topstep claims that OneUp is infringing purported copyrights in that website

content.


                                                    7
    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 8 of 9 PageID #:571




       9.      OneUp has not been and is not now infringing any copyright interest of plaintiff

in the website content. Among other reasons, the content at issue lacks the requisite originality

to qualify for copyright protection, and OneUp’s website content is not substantially similar to

plaintiff’s purported copyright in its website.

       10.     In addition, on information and belief, Topstep does not own some or all of its

website content.

       11.     In light of Topstep’s copyright claim asserted in its complaint against OneUp,

there exists a substantial controversy, immediate and real, between parties having adverse legal

interests—Topstep on the one hand and OneUp on the other—over the issue of whether Topstep

owns copyright in its website content, whether the applicable content qualifies for copyright

protection, and whether OneUp’s content is substantially similar to Topstep’s.

       12.     Accordingly, OneUp seeks, and is entitled to, a judicial declaration that it has not

and is not infringing any putative copyright interest of plaintiff in the Topstep website content.

                                     PRAYER FOR RELIEF

       WHEREFORE, having fully answered plaintiff’s complaint and having asserted a

counterclaim, OneUp prays for judgment as follows:

       A. That this Court fully and finally dismiss with prejudice plaintiff’s claims against

defendant and that plaintiff take nothing from defendant;

       B. That this Court enter judgment and/or declare that OneUp has not and does not

infringe any copyright interest of plaintiff in its website content;

       C. That this Court enter a judgment awarding OneUp its attorneys’ fees under 17 U.S.C.

section 505;

       D. That this Court award OneUp all of its costs of this action; and




                                                  8
    Case: 1:17-cv-04412 Document #: 21 Filed: 08/21/17 Page 9 of 9 PageID #:571




       E. That this Court grant OneUp such other and further relief as the Court shall deem just

and proper.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, defendant/counterclaim

plaintiff OneUp hereby demands a trial by jury on all issues so triable.

 Dated: August 21, 2017                                DUANE MORRIS LLP


                                                        /s/ David J. Wolfsohn
                                                       David J. Wolfsohn (admitted pro hac)
                                                       djwolfsohn@duanemorris.com
                                                       DUANE MORRIS LLP
                                                       30 S. 17th Street
                                                       Philadelphia, PA 19103
                                                       Phone: (215) 979-1000
                                                       Fax: (215) 979-1020

                                                       Attorneys for Defendant OneUp Trader, LLC




                                                 9
